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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                         Case No.: 17-61049-Civ-Altonaga/Goodman

  TONI L. FREEBORN,

         Plaintiff,

  v.

  CREDIT CONTROL, LLC, d/b/a
  OMNI CREDIT SERVICES OF FLORIDA

        Defendant.
  _________________________________________/

             JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) and having amicably resolved all matters

  in controversy, the parties jointly stipulate to a Dismissal with Prejudice of this action

  with each party to bear its own attorney’s fees and costs except as otherwise agreed by

  the parties.


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  By: /s/ Donald A. Yarbrough                By: /s/ Ernest H. Kohlmyer
  Donald A. Yarbrough, Esq.                  Ernest H. Kohlmyer, III, Esq.
Case 0:17-cv-61049-CMA Document 20 Entered on FLSD Docket 08/30/2017 Page 2 of 2



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  _________________________________________/

                               CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on August 30, 2017, I electronically filed the
  foregoing document with the Clerk of Court using CM/ECF. I also certify that the
  foregoing document is being served this day on all counsel of record or pro se parties
  identified on the attached Service List in the manner specified, either via transmission of
  Notices of Electronic Filing generated by CM/ECF or in some other authorized manner
  for those counsel or parties who are not authorized to receive electronically Notices of
  Electronic Filing.


                                                   s/Donald A. Yarbrough
                                                   Donald A. Yarbrough, Esq.


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